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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


IN RE VALSARTAN,
LOSARTAN, AND                                    MDL No. 2875
IRBESARTAN PRODUCTS
LIABILITY LITIGATION                     HON. RENÉE MARIE BUMB


THIS DOCUMENT RELATES TO:
Roberts v. Zhejiang Huahai
Pharmaceutical Co. Ltd.,

Case No. 1:19-md-02875-RMB-SAK




            PLAINTIFFS’ BRIEF IN SUPPORT OF DAUBERT
               MOTION TO PRECLUDE OPINIONS OF
            DEFENSE EXPERT ANDREW THOMPSON, PH.D.


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                         PRELIMINARY STATEMENT

      ZHP’s expert in process chemistry, or organic synthesis as he defined it more

narrowly, Andrew Thompson, Ph.D., was presented as an expert to provide the

following central opinion: “The opinions offered by Drs. Hecht and Najafi regarding

what ZHP should have known, prior to 2018, regarding the potential for NDMA

formation in valsartan API are unsupported by scientific evidence and are

inconsistent with the knowledge, general practice, and concerns held by chemists in

the pharmaceutical industry at that time.” (Thompson R. 10 (Ex. 1); Thompson Dep.

Tr. 168:6-12 (Ex. 2)).1 However, at his deposition, it was established that he first

learned of the existence of nitrosamines after the Valsartan recall in 2018, and it was

made clear that he has no reliable basis to offer such an opinion.

      Dr. Thompson failed to apply a reliable methodology, basing his opinions on

what he knew and would do rather than what ZHP could or should have done. His

opinions are untethered to the facts and constitute net opinions. This includes no

independent research, baseless speculative interpretations of key documents rather

than reliance on sworn testimony in the record, and a lack of understanding of

foundational facts. This cannot fairly be termed a coherent methodology.




1
      Unless otherwise noted, all exhibits are from Adam M. Slater’s certification
in support of this motion.
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      Dr. Thompson grounds his opinions on what he would have known or done,

rather than opining as to what the chemists at ZHP should have known and done,

since he candidly admits he does not have any basis to opine on what they could or

should have done. To illustrate, Dr. Thompson conceded that the scientific literature

with regard to the chemicals and substances that caused the formation of the NDMA

documented the chemical reactions and accompanying impurities of those chemicals

and substances well before the processes were developed and implemented. He

sidestepped this important evidence by claiming that he (a process chemist seeking

to synthesize small batches of new drug substances for use in pre-commercial

clinical trials) would not have known or bothered to search for this literature. But

relying on what he would have known or done is not enough.

      Dr. Thompson failed to apply any objective or reliable standard. He admitted

he did not know or apply the regulatory standards ZHP was expected to apply in

investigating the changes to its manufacturing processes—including the requirement

to make “every feasible technical effort” to identify and prevent genotoxic

impurities. He was not aware that ZHP was required to conduct a scientifically

rigorous risk assessment including a search of relevant scientific literature, to

identify the risks of use of the chemicals and substances, including formation of

impurities. In fact, he did not perform any literature search whatsoever. Thus,

his opinions are not only based on no reliable methodology, they fail to fit the case.

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      The Court should bar Dr. Thompson’s conclusion-driven opinions in their

entirety.

                           STATEMENT OF FACTS

      Andrew Thompson, Ph.D, is a process chemist as well as founder and former

head of J-STAR Research, which is essentially a “department of process research

that a company could outsource.” (Thompson Dep. Tr. 43:4-6). For example, while

at Merck’s department of process research between 1987 and 1995, Dr. Thompson

worked on an angiotensin two receptor blocker that was never sold commercially.

(Id. at 18:14-19:5). He “only worked on it up to the laboratory scale,” and the risk

assessment “was somebody else's responsibility.” (Id. at 20:2-11). His work at J-

STAR was similarly limited. (Id. at 31:7-11).

      For context, Eric Gu testified that Shanghai Syncores acted as ZHP’s

department of process research in this case, and Shanghai Syncores’ research

development report clearly told ZHP: “The synthesis process of crude valsartan and

the purification process including the solvent system need to be further optimized at

the pilot scale.” (Eric Gu 4/5/2021 Dep. Tr. 38:18-22, 138:8-16 (Ex. 3)). In other

words, any small-scale process development is just the beginning of the robust,

scientifically rigorous process development at issue in this case, but his frame of

reference fails to encompass or at least account for what needed to be known at each




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step. Dr. Thompson brings minimal applicable experience to this case. (Thompson

Dep. Tr. 20:12-15, 33:9-12, 62:15-17, 180:13-18, 181:19-25).

      Dr. Thompson admitted that he has never “done any research into

nitrosamines,” and he first learned of the existence of nitrosamines and NDMA

“[a]fter the valsartan recall.” (Id. at 22:13-15). He “never considered any analytical

technique to detect nitrosamines prior to 2018,” and in fact never considered “the

potential presence of nitrosamines in any drug before 2018 when [he] learned of the

valsartan issue.” (Id. 20:12-21:6, 22:4-15, 24:4-25:1).

      Most important, he is not able to apply his knowledge of chemistry in a

meaningful way that would fit the case, because he did not perform any search of

the literature or apply any objective standards. (Id. at 28:19-20, 61:8-62:3, 65:16-

22, 85:8-24). He confirmed that his opinions are based solely on his own work. (Id.

at 53:15-20, 54:3-15). He could not answer “whether ZHP was responsible to

identify the potential risk of forming these genotoxic impurities even if it was not,

to quote you, obvious and easy to catch.” (Id. at 67:20-24).

      Yet, Dr. Thompson submitted a report purporting to opine as to what ZHP

“should have known,” in an attempt to defend ZHP’s risk assessment for failing to

identify the NDMA in its valsartan. (Thompson R. 3-6). His concessions at his

deposition should result in preclusion of his opinions.




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                          THE DAUBERT STANDARD

      The admissibility of expert testimony is determined pursuant to Federal Rule

of Evidence 702. Preliminarily, “Rule 702 requires that the expert's testimony must

assist the trier of fact.” In re Paoli R.R. Yard PCB Litigation, 35 F.3d 717, 742-43

(3d Cir. 1994). The Third Circuit has explained that “admissibility [consequently]

depends in part on ‘the proffered connection between the scientific research or test

result to be presented and particular disputed factual issues in the case.’” Id. at 743

(quoting U.S. v. Downing, 753 F.2d 1224 (3d Cir. 1985)). Importantly, “scientific

validity for one purpose is not necessarily scientific validity for other, unrelated

purposes.” Id. “Thus, even if an expert's proposed testimony constitutes scientific

knowledge, his or her testimony will be excluded if it is not scientific knowledge for

purposes of the case.” Id. (emphasis added).

      “As a gatekeeper, courts are supposed to ensure that the testimony given to

the jury is reliable and will be more informative than confusing.” In re Zoloft

(Sertraline Hydrochloride) Prods. Liab. Litig., 858 F.3d 787, 800 (3d Cir. 2017)

(emphasis added).      Additionally, “[b]oth an expert’s methodology and the

application of that methodology must be reviewed for reliability.” Id. at 791. The

“specific way an expert conducts such an analysis must be reliable; ‘all of the

relevant evidence must be gathered, and the assessment or weighing of that

evidence must not be arbitrary, but must itself be based on methods of science.’”

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Id. at 796. Here, the application of the proposed methodology is fatally flawed

because no method was applied at all.          Dr. Thompson’s methodology is his

conclusory “say so.”

      The party offering the proposed expert testimony bears the burden of

establishing the admissibility of the testimony by a preponderance of the evidence.

Padillas v. Stork-Gamco, Inc., 186 F.3d 412, 417-18 (3d Cir. 1999). An “expert’s

opinions must be based on the methods and procedures of science, rather than on

subjective belief or unsupported speculation.” Paoli, 35 F.3d at 742 (emphasis

added) (citations and internal quotations omitted). Thus, “the expert must have

‘good grounds’ for his or her belief.”         Id. (quoting Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579, 590 (1993)). These good grounds must support

each step of the analysis and, “any step that renders the analysis unreliable under the

Daubert factors renders the expert’s testimony inadmissible.” Id. at 745. Here, Dr.

Thompson’s purported approach is his own, with no reference to the context in this

case, without consideration of key facts, documents, and testimony, and he failed to

consider any of the requirements applicable to ZHP’s manufacturing of generic

drugs in order to apply a relevant and reliable standard that fits the case.

      Furthermore, “Daubert's gatekeeping requirement .... make[s] certain that an

expert, whether basing testimony upon professional studies or personal experience,

employs in the courtroom the same level of intellectual rigor that characterizes

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the practice of an expert in the relevant field.’” Elcock v. Kmart Corp., 233 F.3d

734, 746 (3d Cir. 2000) (emphasis added) (quoting Kumho Tire Co. v. Carmichael,

526 U.S. 137, 152 (1999)); see also Magistrini v. One Hour Martinizing Dry

Cleaning, 180 F. Supp. 2d 584, 594 (D.N.J. 2002), aff'd, 68 Fed. Appx. 356 (3d Cir.

2003). In addition, the following factors are relevant when determining reliability:

             (i) whether the expert's proposed testimony grows
             naturally and directly out of research the expert has
             conducted independent of the litigation (see Daubert v.
             Merrell Dow Pharmaceuticals, Inc., 43 F.3d 1311, 1317
             (9th Cir. 1995)); (ii) whether the expert has unjustifiably
             extrapolated from an accepted premise to an unfounded
             conclusion (see General Elec. Co. v. Joiner, 522 U.S. 136,
             146, 118 S.Ct. 512, 139 L.Ed.2d 508 (1997)); (iii) whether
             the expert has adequately accounted for alternative
             explanations (see Claar v. Burlington, N.R.R., 29 F.3d 499
             (9th Cir. 1994)).

Magistrini, 180 F. Supp. 2d at 594–95. To this end, the Third Circuit has affirmed

the exclusion of expert testimony that “failed to consistently apply the scientific

methods … articulate[d], … deviated from or downplayed certain well-established

principles of [the] field, and … inconsistently applied methods and standards to the

data so as to support [an] a priori opinion.” Zoloft, 858 F.3d at 792 (emphasis

added). The same outcome is required on this record.




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                              I.
                   DR. THOMPSON’S OPINIONS
           SHOULD BE PRECLUDED PURSUANT TO DAUBERT

      A. Dr. Thompson’s Narrow Qualifications and Inadequate Methodology.

      Dr. Thompson defined his expertise as “organic synthesis.” (Thompson Dep.

Tr. 29:20-30:2). He did no “independent study or analysis of what subjects were

in the literature at particular times,” even though that is the core of the opinion

he is purporting to offer. (Id. at 34:6-11). In fact, he testified that whether or

not “ZHP failed to adequately assess the potential formation of mutagenic

impurities when they implemented the new process,” as found by the FDA, is

“beyond the scope” of his opinion – because he doesn’t know what ZHP did.

(Id. at 74:17-75:3, 76:23-77:1). Thus, he admitted that the question he purported to

answer is beyond the scope, because he actually did not evaluate the question.

      Dr. Thompson is not a regulatory expert, as confirmed by defense counsel:

“He's not a regulatory expert and said he can't comment on the FDA.” (Id. at 74:2-

4). He also testified that he is not an expert on or offering opinions related to cGMPs.

(Id. at 33:5-8). Dr. Thompson also admitted he is not an expert in risk assessments

and has never done any research into nitrosamines. (See, e.g., Id. at 20:12-18, 33:9-

12, 62:15-17, 180:13-18, 181:19-25). In fact, he had never considered or been aware

of nitrosamines at all before he was retained in this case. (Id. at 20:12-21:6, 22:4-



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15, 24:4-25:1).2 These limiting foundational points should factor into the Court’s

determination of reliability:

             One very significant fact to be considered is whether the
             experts are proposing to testify about matters growing
             naturally and directly out of research they have conducted
             independent of the litigation, or whether they have
             developed their opinions expressly for purposes of
             testifying. That an expert testifies for money does not
             necessarily cast doubt on the reliability of his testimony,
             as few experts appear in court merely as an eleemosynary
             gesture. But in determining whether proposed expert
             testimony amounts to good science, we may not ignore the
             fact that a scientist's normal workplace is the lab or the
             field, not the courtroom or the lawyer's office.

Daubert v. Merrell Dow Pharmaceuticals, Inc., 43 F.3d 1311, 1317 (9th Cir. 1995);

see also Elcock, 233 F.3d at 747 (quoting Paoli, 35 F.3d at 742, n.8).

      Dr. Thompson did not apply any standard for analyzing the potential

risks of a generic API manufacturing process, including the risks of creating

genotoxic impurities. He point blank admitted he didn’t take into account any

standards or internal protocols and did not know what ZHP was required to do.

(Thompson Dep. Tr. 61:8-62-3, 65:5-22, 85:8-24). This matters since his report is

focused on what the people at ZHP should have known. Instead of applying an



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  Dr. Thompson also confirmed that he did address the application of gas
chromatography or mass spectrometry to the peaks seen on the chromatograms in
his report, and what ZHP should have been looking for in evaluating unknown peaks
because that was not addressed in his report and is “outside the scope of [his]
opinion.” (Id. at 97:22-99:8, 103:2-104:8).
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objective standard, he simply framed his analysis in terms of what he says he did or

knew in his small-scale research lab, which is subjective, unreliable, and irrelevant.

See Paoli, 35 F.3d at 742-743 (holding an “expert’s opinions must be based on the

methods and procedures of science, rather than on subjective belief or

unsupported speculation,” and “admissibility depends in part on ‘the proffered

connection between the scientific research or test result to be presented and

particular disputed factual issues in the case.’”); In re Mirena IUS Levonorgestrel-

Related Prods. Liab. Litig. (No. II), 341 F. Supp. 3d 213, 241 (S.D.N.Y. 2018)

(holding, “[M]ethodology ... aimed at achieving one result ... is unreliable, and

... must be excluded” (quoting Faulkner v. Arista Records LLC, 46 F. Supp. 3d 365,

381 (S.D.N.Y. 2014)).

      Though proffered as an expert in organic synthesis, Dr. Thompson admitted

that he could not opine on the fundamental question he was ostensibly brought

to address, which was “whether ZHP was responsible to identify the potential

risk of forming these genotoxic impurities even if it was not, to quote you,

obvious and easy to catch.” (Thompson Dep. Tr. 67:20-24 (emphasis added)). If

he can’t opine on that issue, there is no point to his testimony, especially given his

concessions that scientific research done at the time would have shown (1)

dimethylformamide contains and degrades into dimethylamine, (2) dimethylamine

and sodium nitrite create NDMA, as occurred in ZHP’s valsartan manufacturing

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process here, and (3) the technology to test for and detect NDMA was available. (Id.

at 91:10-19, 96:6-97:5, 104:9-105:1).

      And to top it off, Dr. Thompson was unable to answer when asked what ZHP

needed to do if it knew this information, claiming it was “outside the scope.” (Id. at

93:23-20).

      Dr. Thompson admitted that he did not know “what standards applied to

the people at ZHP who were the process chemists in terms of what the standard

was for them in terms of what they were supposed to do in order to evaluate

potential formation of genotoxic impurities.” (Id. at 61:8-17; see also id. at 61:19-

62:3, 65:16-22, 85:8-24 (emphasis added)). Dr. Thompson actually admitted he

was not an expert in this area. (Id. at 33:9-12). Thus, by his own admission, he is

not an expert about, and did not even know what standards applied to, the actual

question he purported to answer.

      Dr. Thompson was completely unaware, based on the FDA guidance adopted

per ZHP’s own regulatory filings, that ZHP was “required to make every feasible

technical effort to prevent the formation of genotoxic or carcinogenic

compounds during the manufacture of valsartan.” (FDA, Guidance for Industry,

Genotoxic ad Carcinogenic Impurities in Drug Substances and Products:

Recommended Approaches, p. 7 (Dec. 2008) (Ex. 4); HUAHIA-US00007898

(stating, “FDA draft guideline “Genotoxic and Carcinogenic Impurities in Drug

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Substances and Products: Recommended Approaches’ is applicable to the

applications for existing active substances”) (Ex. 5)). He did not even pay lip service

to whether or not ZHP performed any analysis, because he does not know what ZHP

did. Unaware of the required scope of the scientific evaluation, he was never in a

position to measure ZHP’s conduct (which he did not evaluate) against that or any

other relevant or reliable standard—and thus only applied his own personal standard

of “things you can think of.” (Id. at 61:2).

        Dr. Thompson also did not even know of or apply ZHP’s internal SOPs, such

as its Guideline for Genotoxic Impurity Evaluation, which required “[a]ll

intermediates and APIs produced under GMP conditions [to] be identified for

genotoxic impurities.” 3 And since he didn’t know this was a required “should have

known” and a fundamental point of the risk assessment, he did not measure the

evidence to determine whether or not this could or should have been accomplished

based on the scientific literature he admits was available to notify a researcher of the

potential formation of NDMA in ZHP’s valsartan. His personal opinion is thus

untethered and cannot fit the case, and would be hopelessly confusing to a jury.

        To the extent Dr. Thompson may be qualified to discuss the organic chemistry

literature in general, that is not a helpful fit to the case since he is incapable of

offering an opinion tying the contents of the literature to the assessment ZHP’s


3
    (Peng Dong 3/29/2021 Dep. Tr. 33:13-19 (Ex. 6); see also id. at 33:9-62:16).
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chemists were required to perform, and he admits the literature was available

anyway. The only standard he applied was what he knew at the time, and he

repeatedly reverted to what he knew or did in his small-scale research lab—even

when he couched his opinion in terms of “industry practice”:

             Q. And when you talked about industry practice, you were
             basing that on your own experience and the work that you
             did in your own labs; correct?

                                       * * *

             THE WITNESS: Yes.

             Q. You didn't do a study or analysis of what other people
             were doing or what was being done across the industry,
             you based it on your own experience in your own work;
             correct?

             A. Yes.

(Thompson Dep. Tr. 86:25-87:11). When shown the FDA’s Warning Letter, he

admitted that he did not read it, and deemed it “irrelevant to the issue that I was

providing an opinion on, yes.” (Id. at 68:13-69:22). This despite the fact that the

FDA told ZHP that it “disagreed that pointing to current industry practice is adequate

as a defense due to the failure to do [the required] type of [risk] analysis.” Dr.

Thompson’s response was: “It’s outside the scope.”           (Id. at 87:12-18).     A

methodology that relies only on favorable FDA statements, and disregards

unfavorable FDA statements has to be hopelessly flawed. (See, e.g., Thompson R.

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5). And Dr. Thompson conceded that he “cherry-picked” the documents that he

wanted to rely on by his own admission. (Thompson Dep. Tr. 56:16-24).

      His decision to disregard FDA findings critical of ZHP is all the more

methodologically unsound in light of his heavy reliance on FDA statements and

actions throughout his report when he felt they could be used to support ZHP’s

defense. (Id. at 87:12-15; see, e.g., Thompson R. 5). But even that purported

reliance was methodologically unsound since he wasn’t even able to tell what FDA

statements he was actually relying on. (Thompson Dep. Tr. 67:25-68:12). His

approach was conclusion driven, not driven by determining the objectively correct

answer.

      His cherry-picking approach to the FDA is very telling since the central source

of information Dr. Thompson relies on, in addition to his own narrow experience, is

his interpretation of FDA statements. But he is not a regulatory expert and does not

work with or rely on FDA statements, and did nothing to independently verify or

refute, or understand the full context of what the FDA said. He admitted a big hole

in his methodology, as he had no idea that the FDA rejected ZHP’s argument that

the chemical reactions at issue could not be known. When shown the FDA’s

conclusion that ZHP should have known, he simply stated that he disagreed with the

FDA, without any sound reasoning to do so. (Id. at 69:12-18, 70:5-7, 70:23-71:16,

72:21-73:23, 74:17-76:2, 79:18-80:9, 80:23-81:6, 80:17-82:2, 85:25-88:1).         As

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shown above, he did this based on no research and no objective basis, it is simply

the conclusion he preferred to reach. Daubert prohibits this type of subjective,

conclusion-driven cherry picking and/or gamesmanship, claiming reliance when it

suits the expert and ignorance when it does not. Mirena, 341 F. Supp. 3d at 241

(S.D.N.Y. 2018) (holding, “[M]ethodology ... aimed at achieving one result ... is

unreliable, and ... must be excluded” (quoting Faulkner, 46 F. Supp. 3d at 381)).

      Dr. Thompson applied this unreliable approach to attempt to deflect evidence

undercutting his conclusory opinions. As already noted, Dr. Thompson conceded

that scientific research at the time would have shown (1) dimethylformamide

contains and degrades into dimethylamine and (2) dimethylamine and sodium nitrite

create NDMA, as occurred in ZHP’s valsartan manufacturing process here. (Id. at

96:6-97:5). In order to undercut these two critical facts, Dr. Thompson simply said:

“[I]t never enters into my mind when I suggest DMF as a solvent. I never think

of it.” (Id. at 77:15-16 (emphasis added)). He later explained, “I mean, it's one of

those factoids, it just doesn't -- doesn't stay unless it's continuously reinforced.”

(Id. at 92:24-93:2 (emphasis added)). His untethered knee jerk rejection of the

scientific literature as a legitimate and required source of information to be consulted

by ZHP, despite the regulatory guidances requiring this, is methodologically

unsound. That he does so based on elevation of his own practice in a small-scale




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research lab without reference to what ZHP—a commercial manufacturer—was

required to do is fatal.

       In granting a motion to preclude an expert under Daubert, this Court has

observed:

              [C]ourts also need not admit mere conclusions or opinion
              evidence that is connected to existing data only by the ipse
              dixit of the expert. A court may conclude that there is
              simply too great an analytical gap between the data and the
              opinion proffered…. Mere assumptions, without causal
              evidence or methodological analysis may be
              inadmissible.... Conclusions based only on the expert’s
              experience, and testimony founded on methods that are not
              generally accepted or lack testable hypotheses may also
              fail to surmount the Daubert standard.

Player v. Motiva Enterprises LLC, No. Civ. 02–3216(RBK), 2006 WL 166452, at

*6-7 (D.N.J. Jan. 20, 2006) (citations omitted). In Player, this Court found the expert

failed to satisfy the reliability requirement, as the expert failed to consider important

facts without satisfactory explanation, among other things. Id. at *7. The Court

held: “His method is untestable and arbitrary, without a generally accepted,

established, or peer reviewed methodology, and his evaluation was conducted

without any real standards.” Id. at *8, emphasis added. By failing to apply any

of the internal or external standards applicable to what ZHP was required to do in

order to evaluate the risks of ZHP’s process changes—the “should have known”



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question he purports to opine on—Dr. Thompson followed no reliable scientific

methodology.

      B. Dr. Thompson Impermissibly Relied on His Own, Baseless
         Interpretation of the July 27, 2017 Email to Claim the Email Does Not
         Say ZHP’s Valsartan Was Contaminated with NDMA Due to the
         Sodium Nitrite Quenching Process.

      Dr. Thompson also applied his own unreliable personal interpretation

methodology to his speculative interpretation of the July 27, 2017 email. He did this

so he could disregard what ZHP’s 30(b)(6) witness and ZHP itself, in a translation

submitted to the Court, have already agreed it said. (Ex. 7). In fact, Dr. Thompson

admitted “I don’t have much of a basis for saying that” Plaintiffs’ and ZHP’s,

understanding of the email is wrong. (Thompson Dep. Tr. 106:13-14). Such

baseless ipse dixit is not helpful to a jury and is impermissible under Daubert. See,

e.g., Player, 2006 WL 166452, at *6-7.

      As the Court is aware, the email was sent by ZHP drug impurity researcher

Jinsheng Lin, Ph.D. to numerous high-level ZHP employees and matter-of-factly

and CORRECTLY stated in part that ZHP’s valsartan contained NDMA, and that it

formed due to the sodium nitrite quenching—the root cause that has been admitted

by ZHP. As testified to by Dr. Lin’s boss, Min Li during his 30(b)(6) deposition,

the email stated in part:

             Through the secondary mass spectrometry analysis, it can
             be inferred that the extra NO substituent is in the cyclic
             compound fragment, and it is very likely that it is an N-
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             NO compound; it is similar to the N-
             nitrosodimethylamine that occurs in valsartan when
             quenched with sodium nitrite, and its structure is very
             toxic.

(Min Li 4/20/2021 Dep. 87:19-88:7, 88:13-89:18 (Ex. 8) (quoting Ex. 9) (emphases

added)). Instead of relying on or even acknowledging Min Li’s reading of the email,

which is binding on ZHP, Dr. Thomspon read and interpreted the translated email

himself to essentially delete the most important phrase:

             A. So . . . . my first impression when I read this was it
             was not -- the English -- whoever did the interpretation
             got it wrong. I didn't believe those words. I see them
             there, but I don't -- I didn't believe them.

(Id. at121:15-21). Dr. Thompson is a proposed expert witness, he cannot say this to

a jury. He is completely unqualified and has no reliable basis for this opinion. Dr.

Thompson cannot transform himself into a fact witness by re-interpreting the

document without “much of a basis” in a way that directly contradicts ZHP’s own

translation of the document. (Thompson Dep. Tr. 106:13-14).

   C. Dr. Thompson’s Testimony Interpreting and Applying the Chinese
      Certificate of Analysis Standard Should Be Precluded.

      Dr. Thompson also purported to interpret and apply the Chinese standard

applicable to the contents of a certificate of analysis (these documents were provided

to him after his report was written, and he provided no supplemental report

addressing them). Notwithstanding, when asked about his basis to do so, he admitted


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that didn’t understand what actually happened in the manufacturing process, or what

substances were present, and he was “speculating.”

            Q. And let's go now back to the calculation on page 6. You
            mentioned that the alkalinity could be due to bases
            including dimethylamine and a few other substances. Can
            you tell me again what those substances are?

            A. So hold on. Let me get to the equation. The possibility
            -- so one of the possibilities potentially -- I mean, the bases
            that would be stable in DMF would be a carbonate base.
            Now I see methoxide for methylformate. There could be
            methoxide in there. There's a number of different bases
            that could be in there. Not just -- there's a number of
            different bases that could be in there.

            Q. Well, I want to know the ones that you can identify for
            me. You said carbonate base or methoxide?

            A. Carbonate base -- yeah, so methylformate and
            methylamine, that will give off methanol, not methoxide.
            So -- and I don't know if they used carbonate in the
            process at all, if there are any catalysts that use it. So
            this -- you know, I don't know exactly if they just mix
            those two ingredients with no catalyst and heat them
            up, or what they do, but...

            So I'm just -- you know, assuming there's a catalyst,
            there could be things that come off the catalyst that are
            bases, like carbonate. You know, that's -- so that's a total
            base content. Otherwise they would just say this is the
            amount of dimethylamine in there. Why don't they say
            that? Why do they say calculated as dimethylamine?
            There must be other bases in there for them to make a
            generic formula like that.

            Q. You're speculating as to that; correct?

            A. I'm speculating.
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                                        * * *

             THE WITNESS: Yeah, of course I'm speculating. I'm
             sorry. Yes, I'm -- I didn't put the formula together. I'm
             speculating.

             BY MR. SLATER:

             Q. The only base referenced here is dimethylamine;
             correct?

             A. Yes.

(Thompson Dep. Tr. 165:15-167:7 (emphasis added)).

      The admission that the analysis of the standard is based on speculation and a

lack of knowledge about what actually happened and was present in the process at

issue should result in the preclusion of any opinions regarding the Chinese standard

and the certificates of analysis.




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                                CONCLUSION

      For the foregoing reasons, Dr. Thompson failed to adopt or apply a reliable

methodology, and he should therefore be precluded from offering any of his

proffered opinions.

                                     Respectfully,

                                     PLAINTIFFS’ CO-LEAD COUNSEL

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